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                             UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:                                                           Case No.: 8:18-bk-02807-RCT
                                                                 Chapter 7
Mark Alan Piburn
Judith Ann Piburn

Debtors.
                             /

                         MOTION TO VACATE
      ORDER APPROVING APPLICATION TO EMPLOY/RETAIN BK GLOBAL
  REAL ESTATE SERVICES AND TANJA CISLIEK OF FUTURE HOME REALTY, INC.

         COME NOW, the Chapter 7 Trustee, Stephen L. Meininger by and through the undersigned

attorney, and files Motion to Vacate Order Approving Application to Employ/Retain Bk Global Real

Estate Services and Tanja Cisliek of Future Home Realty, Inc and state the following:

    1. In order to aid the Trustee in marketing and selling nonexempt real property of the estate, the

         Trustee sought to employ real estate professional Marcia Peacock of Keller Williams Realty

         (see the Application to Employ filed on July 27, 2018 at Dkt. No. 23).

    2. Due to mistake the Trustee thereafter submitted a proposed order approving the employment

         of the professional, but describing the real estate professional as “Tanja Cisliek of Future

         Home Realty, Inc.” This error went unnoticed and the court entered said order on July 31,

         2019 at Dkt. No. 24 (hereinafter the “Erroneous Order”)

    3. The Trustee now seeks an order vacating the Erroneous Order and providing the Trustee with

         three (3) days to submit a proposed corrective order to be entered in its stead.

         WHEREFORE, the Trustee respectfully request that this court vacate the Erroneous Order (at
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Dkt. No. 24), allowing the Trustee to file a proposed corrective, and for such other and further relief

as is just and proper.

                                                /s/ Richard M. Dauval
                                                Richard M. Dauval, Esq., FBN 664081
                                                3900 1st Street North, Suite 100
                                                St. Petersburg, FL 33703
                                                Ph No: (727) 327-7828

                                     CERTIFICATE OF SERVICE
I certify that a true and correct copy of this motion was served by electronic delivery to the Office of
the United States Trustee on: May 24, 2019

                                                       /s/ Richard M. Dauval
                                                       Richard M. Dauval, Attorney for Trustee
